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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                   AT KANSAS CITY

IN RE:                           )
                                 )
INTERSTATE UNDERGROUND WAREHOUSE )                          Case No. 21-40834-DRD
AND INDUSTRIAL PARK, INC.        )                          Chapter 11
                                 )
          Debtor.                )

                      AMENDED RESPONSE TO OBJECTION TO CLAIM

           COMES NOW Creditor, CCC Capital Investments, LLC, by and through Counsel, Colin
N. Gotham, of Evans & Mullinix, P.A., and for its Response to the Objection to Claim, Court
Claim No. 23, states as follows:
    1. Creditor denies the facts and legal arguments contained in Debtor’s Objection to Claim.
    2. The checks attached to the Proof of Claim are made payable to the Debtor or the party
           directed by the Debtor.
    3. The Debtor received the benefit of the funds by check or wire transfer.
           WHEREFORE, Creditor, CCC Capital Investments, LLC, pays that this Court deny the
Objection to Claim and for such other relief as the Court deems just and equitable.


                                             Respectfully Submitted:
                                             EVANS & MULLINIX, P.A.

                                             /s/ Colin N. Gotham
                                             Colin N. Gotham, KS #19538; MO #52343
                                             7225 Renner Road, Suite 200
                                             Shawnee, KS 66217
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                                             CCC Capital Investments, LLC




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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2022, a true and correct copy of the foregoing was
electronically filed with the court using the CM/ECF system which sent notification to all parties
of interest participating in the CM/ECF system and via U.S. First Class Mail, postage prepaid to
the following:


                                             /s/ Colin N. Gotham
                                             Colin N. Gotham




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